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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                           Alexandria Division


 Patti Hidalgo Menders; Scott Mineo;
 and Jane Does #1, #2, and #3, on behalf
 of themselves and their minor children
 R.M.; A.M.; Jane Does #4, #5, and #6;
 and John Does #1 and #2.
                                           Case No. 1:21-cv-00669
               Plaintiffs,

 v.

 Loudoun County School Board,


               Defendant.


               BRIEF OF PLAINTIFFS IN SUPPORT OF THEIR
                MOTION FOR A PRELIMINARY INJUNCTION
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                                   INTRODUCTION

         “It is now a commonplace that students do not shed their constitutional

 rights at the schoolhouse gate.” Wofford v. Evans, 390 F.3d 318, 322 (4th Cir. 2004)

 (cleaned up). This includes their right to equal treatment under the law and

 freedom of speech and thought. A public school may not deny educational

 opportunities to students because of the color of their skin or their viewpoints on

 contemporary issues.

         Indeed, just this week the U.S. Supreme Court affirmed that “the school itself

 has an interest in protecting a student’s unpopular expression,” saying “America’s

 public schools are the nurseries of democracy. Our representative democracy only

 works if we protect the ‘marketplace of ideas.’” Mahanoy Area School Dist. v. B.L.,

 No. 20–255 (June 23, 2021), slip opinion at 7.1 But here, Defendant Loudoun County

 School Board has crossed these constitutional red lines. Rather than treat students

 equally, they have categorized and classified them based solely on race. Rather than

 protect students’ unpopular expression, the board has authorized a system for other

 students to anonymously report and review it.

         As part of an effort to infuse the next generation of students in Loudoun

 County Public Schools (“LCPS”) with a controversial, divisive ideology, it has

 created a new student leadership opportunity known as the Student Equity

 Ambassadors (“SEA”) program. Originally only open to “students of color”—yes, it

 began with an explicit racial classification—LCPS now requires that participants

 “amplify the voices of students of color.”

 1   https://www.supremecourt.gov/opinions/20pdf/20-255_g3bi.pdf.
                                              1
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       Although LCPS dropped the requirement that participants be “students of

 color,” simply changing a program so that is facially neutral fails to address the

 racist intentions behind the law. The principals who are charged with picking the

 ambassadors are in on the joke; the original criteria told them exactly who the main

 administration expects them to pick for the program. It thus violates the Equal

 Protection Clause. And discriminating on the basis of the viewpoints that “amplify

 the voices of students of color” is a First Amendment violation in and of itself.

 That’s doubly true here, where principals are also told to only select students who

 have a demonstrated track record of “a passion for social justice.” Thus, the Student

 Equity Ambassador Program must be preliminary enjoined because it still

 discriminates on the basis of race and amounts to viewpoint discrimination in

 violation of the First Amendment.

       Not only that, LCPS has also instituted a companion to the SEA Program—

 the Bias Incident Reporting System. This system allows students to report their

 classmates for investigation by LCPS for engaging in conduct that “appears to be

 intentional and motivated by prejudice or bias.” Additionally, the “bias incidents”

 are shared with Student Equity Ambassadors who name-and-shame their

 classmates who commit “microaggressions” like sharing their faith or views about

 politics. The Bias Reporting System is a way for students to rat each other out over

 their views and for LCPS to act as the Thought Police, where only students who are

 on-board with the new reigning ideology can speak up without fear of being

 reported and retaliation. Such overbroad definitions of “bias,” combined with the



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 possibility of formal and informal sanctions for holding dissenting views, chills

 speech, encourages self-censorship, and violates the First Amendment. As such, the

 Bias Incident Reporting System must be preliminary enjoined as well.


                                        FACTS

       Around June 23, 2020, LCPS published its “Action Plan to Combat System

 Racism,” which outlines a complex set of initiatives to implement a divisive and

 controversial new ideology across LCPS. App. 4. Those initiatives include

 prohibiting the “wearing/flying of flags, images, or symbols on LCPS property that

 represent racist or hateful ideology,” id. at 1, 9,2 “[f]inaliz[ing] the Protocol for

 Responding to Racial Slurs and Hate Speech in Schools,” id. at 11, and

 “consider[ing] the potential renaming of the Loudoun County High School mascot,

 the Raiders.” Id. at 19.

       As Part of LCPS’ Action Plan, it developed the “Student Equity Ambassador”

 (“SEA”) program, which the Parents challenge here. The SEA program is a formal

 office the school endows with particular authority to speak on behalf of the student

 body. Id. at 28. Each school principal selects two to three students to serve in the

 SEA program. Id. Students are selected based on particular criteria, and they serve

 as a liaison collaborating with the district-wide Supervisor of Equity during

 regularly occurring student “Share, Speak-up, Speak-out meetings.” Id. These


 2 Contrary to the holding of Newsom v. Albemarle County School Board, 354 F.3d
 249, 261 (4th Cir. 2003), where the Fourth Circuit has held that students were
 likely to succeed on the merits of their claim that a school’s dress code’s overbreadth
 violated the First Amendment. Though that policy is not a part of this case, it shows
 LCPS’s disregard for the First Amendment.
                                           3
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 meetings and the program generally are “a forum to amplify the voices of Students

 of Color and those who have experienced or witnessed injustices, marginalization, or

 discrimination” according to an LCPS high school’s “Equity Team.” App. 134. The

 LCPS Equity Director also described the Program as “students coming together in

 this forum.” EdEquityVA Webinar Series-Embracing and Incorporating Student

 Voice.3

           Originally, the process for selecting student ambassadors included as its first

 guideline that “[t]his opportunity is open to all Students of Color.” App. 126. And

 the LCPS’ formal publication on the matter included a Frequently Asked Questions

 (“FAQ”) section where the first entry read:

       [Question:] My child would like to participate as a Student Equity
       Ambassador and is not a student of color. Can they participate?

       [Answer:] Thank you for your interest but this opportunity is
       specifically for students of Color. However, students at each school
       have an option of creating an affinity group for students of Color who
       all share a similar racial identity and they may also include allies.

 Id. at 127.

       The next FAQ read:

       [Question:] Are there other opportunities for students to get involved?

       [Answer:] Students may reach out to their school’s activity coordinator
       or the equity lead if they would like to be involved in other equity
       opportunities.




 3
  See LCPS Equity Director Lottie Spurlock’s comments at
 https://www.youtube.com/watch?v=wXXJoqablZ4&t=4968s (1:18:26).
                                              4
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 Id. A flyer accompanying the FAQ document from the district explained that equity

 ambassadors must “amplify the voices of students of color” and “represent your

 peers of color.” Id. at 128.

        But LCPS revised the program’s description after facing backlash over the

 “student of color” requirement and removed that requirement but did not change

 anything else or explain the change. Id. at 27-30. After this revision, a parent asked

 whether their child (who is not a student of color) can apply for the SEA program.

 Id. at 131-32. An LCPS official responded: “[t]hough all students (white or

 otherwise) are more than welcome to potentially serve as ambassadors, their focus

 is to raise the voice of their classmates of color during these meetings.” Id. at 130-

 31.

        The revised version retains other criteria upon which principals are supposed

 to select students, such as “[s]tudents who have a passion for social justice and are

 willing to serve.” Id. at 29. The flyer inviting students to engage in the program

 similarly solicits applicants who “want to be a voice for social justice.” Id. at 30.

 LCPS’s equity director described the equity ambassadors as part of the district’s

 work to “empower students to make meaningful contributions to their world

 through a social justice lens.” EdEquityVA Webinar Series-Embracing and

 Incorporating Student Voice.4 A LCPS high school announcing the SEA program

 told parents that having “a passion for social justice” is the first quality students

 “serving in th[e] role” of Student Equity Ambassador must possess. Id. at 134.


 4
  See LCPS Equity Director Lottie Spurlock’s comments at
 https://www.youtube.com/watch?v=wXXJoqablZ4&t=4968s (1:23:35).
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        The Plaintiffs’ children would not have qualified for the SEA program as

 originally conceived or practically implemented. App. 117-18 (Decl. of Patti Hidalgo

 Menders ¶¶ 6, 10, 11); App. 120-21 (Decl. of Scott Mineo ¶¶ 6, 10, 11); App. 135-36

 (Decl. of Jane Doe #1 ¶¶ 6, 10, 11); App. 138-39 (Decl. of Jane Doe # 2 ¶¶ 6, 10, 11);

 App. 141-42 (Decl. of Jane Doe #3 ¶¶ 6, 10, 11). None of them identify as students of

 color, and they and their children hold views about important public issues that

 they believe conflict with LCPS’s definition of social justice. Id. They challenge the

 SEA Program on Equal Protection and First Amendment viewpoint discrimination

 grounds (Counts I and II).

        Alongside the SEA Program, LCPS also implemented the Bias Incident

 Reporting System. LCPS distributed a form to parents and students to “capture

 incidents of bias in an anonymous manner.” New LCPS Student Bias Incident

 Portal (Video of Submitting Incident), May 19, 2021.5 The form includes check boxes

 for the “Type of Bias Incident” being reported, including “Harassment or

 Intimidation,”    “Racial    Slur,”   “Offensive     Language,     Teasing     or   Taunting

 Language/Verbal Exchange,” “Exclusion or victim of lack of inclusivity,” “Gender

 Identity and Expression,” “Ability Status,” “Religious Practices,” and “Sexual

 Orientation.” Id. The LCPS equity director further explained that a “bias incident”

 is an “act of discrimination, harassment, [or] intimidation directed against any

 person or group that appears to be intentional and motivated by prejudice or bias.”




 5
  https://stoplcpscrt.com/2021/05/19/5-19-21-new-lcps-student-bias-incident-portal-video-of-
 submitting-incident/
                                               6
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 EdEquityVA Webinar Series-Embracing and Incorporating Student Voice.6 The

 equity director continued: “Such are usually associated with negative feelings and

 beliefs with respect to others [sic] race, ethnicity, national origin, religion, gender,

 gender identity, sexual orientation, age, social class, political affiliation, or

 disability.” Id.

        LCPS will investigate “bias incidents” if the person submitting the form

 provides his or her name and indicates on the form that they would like school

 administrators to investigate the “particular incident” they are reporting.7 Also as

 part of its Action Plan, LCPS is finalizing a “LCPS Protocol for Responding to Racial

 Slurs and Hate Speech in Schools.” App. 11. LCPS’s equity office emphasizes in its

 messages about the bias response system, “Students should still report discipline

 incidents to a trusted adult or members of the administrative team.”8 The incidents

 reported on this form are also used in the “Share, Speak-up, Speak-out” meetings

 with the Student Equity Ambassadors.9 Nothing about the form limits its

 application to only on-campus speech; students can report incidents involving other

 students for off-campus speech as well.

        In addition to receiving the Bias Incident reports, Student Equity

 Ambassadors’ role is to “work to identify microaggressions” within their school.


 6
   See LCPS Equity Director Lottie Spurlock’s comments at
 https://www.youtube.com/watch?v=wXXJoqablZ4&t=4968s (Slide that appears at 1:18:22).
 7
   https://stoplcpscrt.com/2021/05/19/5-19-21-new-lcps-student-bias-incident-portal-video-of-
 submitting-incident/
 8
   Id.
 9
   See LCPS Equity Director Lottie Spurlock’s comments at
 https://www.youtube.com/watch?v=wXXJoqablZ4&t=4968s (Slide that appears at
 1:18:22).
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 Kevin Myers, The Ongoing Push for Equity In LCPS (April 14, 2021).10 Three

 Student Equity Ambassadors gave a presentation to the LCPS Board where they

 said: “Microaggressions are defined as the everyday, subtle, intentional — and often

 unintentional — interactions or behaviors that communicate some sort of bias

 toward        historically    marginalized      groups.”     App.     42.      Some   example

 “microaggressions” they identified included: “denial[s] of racial reality” like ‘I don’t

 think that white privilege exists’” or asserting the value of “colorblindness,” which

 sees people as individuals rather than members of a race. Id. at 43, 46.

          The Plaintiffs are parents of children attending LCPS (“parents”). The

 parents raise their children to be active, engaged citizens in their community and

 country. The parents encourage and teach their children to also share their views

 with their peers. App. 117-18 (Decl. of Patti Hidalgo Menders ¶¶ 10, 11); App. 120-

 21 (Decl. of Scott Mineo ¶¶ 10, 11); App. 135-36 (Decl. of Jane Doe #1 ¶¶ 10, 11);

 App. 138-39 (Decl. of Jane Doe # 2 ¶¶ 10, 11); App. 141-42 (Decl. of Jane Doe #3 ¶¶

 10, 11).

          As such, the parents and children are concerned that if their students share

 their views about political or social issues, including those touching on religion,

 race, and human sexuality, they will be reported and investigated for ‘bias

 incidents. App. 118-19 (Decl. of Patti Hidalgo Menders ¶¶ 12-15); App. 121-22 (Decl.

 of Scott Mineo ¶¶ 12-15); App. 137 (Decl. of Jane Doe #1 ¶¶ 12-15); App. 139-40

 (Decl. of Jane Doe # 2 ¶¶ 12-15); App. 142-43 (Decl. of Jane Doe #3 ¶¶ 12-15).



 10
      https://dhspress.com/6434/showcase/the-ongoing-push-for-equity-in-lcps/
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           They fear such a report, investigation, or public disclosure could negatively

 impact their standing in the school community and ruin their children’s college or

 career prospects. Id. They are aware that in other school settings nationwide, “bias

 incident” response or disciplinary systems have been invoked against students

 based on similarly worded standards for sharing their political or religious views.

 Id.

           These parents’ fears are well-founded. As demonstrated at much greater

 length in the Plaintiffs’ motion to proceed anonymously, the environment in

 Loudoun County right now is toxic. And children are not exempt; the Anti-Racist

 Parents Facebook group has asked its members to use their children’s social media

 accounts to investigate the social media accounts of children of Plaintiffs in a hunt

 for racial slurs. Luke Rosiak, ‘Anti-Racists’ Behind School Enemies List Now

 Gathering Info On Children As Top Prosecutor Joins In, The Daily Wire (May 25,

 2021).11 Any comment at school, outside of school, or on social media even remotely

 relating to race or politics by any child of a Plaintiff or another parent involved in

 this issue will instantly prompt a bias report. These children are on a literal watch-

 list.

           Given that these parents and their children believe that their views conflict

 with LCPS’s definition of “social justice” and that their views may provoke a

 “heckler’s report” by students or others who disagree with their views, they

 challenge the Bias Reporting System on First Amendment grounds (Count III).

                                           ARGUMENT
 11
      https://www.dailywire.com/news/loudoun-anti-racists-targeting-children-buta-biberaj
                                                  9
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       To issue a preliminary injunction, the court considers (1) whether a plaintiff

 “is likely to succeed on the merits,” (2) whether a plaintiff “is likely to suffer

 irreparable harm in the absence of preliminary relief,” (3) whether “the balance of

 equities tips in [plaintiff’s] favor,” and (4) whether “an injunction is in the public

 interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); see Centro

 Tepeyac v. Montgomery Cty., 722 F.3d 184, 188 (4th Cir. 2013) (en banc). The third

 and fourth factors regarding the balance of equities and public interest “merge

 when the government is the opposing party.” See Nken v. Holder, 556 U.S. 418, 435

 (2009).

       Here, each of the four factors heavily favors the parents. The SEA Program

 and Bias Incident Reporting System violate the U.S. Constitution, the parents will

 suffer significant and irreparable harm, the balance of hardships only falls on the

 parents, and the public interest is clearly in favor of enjoining LCPS’

 unconstitutional actions. A preliminary injunction is necessary to permit these

 students to attend school this year without showing up every day in fear that any

 comment taken out of context will launch a bias report and investigation, so the

 Plaintiffs may fully develop their case by discovery on the district’s internal

 documents and staff.

 I. The parents are likely to succeed on the merits of their claims.

       A. The SEA Program violates the Equal Protection Clause because of
          its racist motives and its revisions did not meaningfully change
          the program.

       When a state law interferes with “fundamental constitutional rights” or

 “involve[s] suspect classifications,” the law is subject to strict scrutiny. San Antonio

                                           10
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 Indep. Sch. Dist. v. Rodriguez, 411 U.S. 1, 16 (1973). The SEA Program does all of

 the above: it targets suspect classes (race). Racial classifications are inherently

 suspect under equal protection. Mass. Bd. of Ret. v. Murgia, 427 U.S. 307, 313

 (1976).

       A state may violate the Equal Protection Clause through a law that is

 targeted at a suspect class even if it does not use a formal racial classification, for

 “[t]he Equal Protection Clause is offended by sophisticated as well as simple-minded

 modes of discrimination.” United States v. Fordice, 505 U.S. 717, 729 (1992). The

 Supreme Court has routinely reviewed the “original motivation” for laws impacting

 racial minorities in contexts such as jury selection, Ramos v. Louisiana, 140 S. Ct.

 1390 (2020), voting, Hunter v. Underwood, 471 U.S. 222 (1985), or employment,

 Washington v. Davis, 426 U.S. 229 (1976), and struck them down for their racist

 intentions   using   the   Arlington    Heights    analysis.   “[W]hether    invidious

 discriminatory purpose was a motivating factor demands a sensitive inquiry into

 such circumstantial and direct evidence of intent as may be available.” Vill. of

 Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 266 (1977).

       How does a court determine whether racial discrimination was a motivating

 factor behind a law? The court undertakes a “sensitive inquiry” and uses a “holistic

 approach” that looks to “the historical background of the challenged decision; the

 specific sequence of events leading up to the challenged decision; departures from

 normal procedural sequence; the legislative history of the decision; and of course,

 the disproportionate impact of the official action—whether it bears more heavily on



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 one race than another.” N.C. State Conference of the NAACP v. McCrory, 831 F.3d

 204, 220-21 (4th Cir. 2016) (citing Arlington Heights). A plaintiff “need not show

 that discriminatory purpose was the sole or even a primary motive for the

 legislation, just that it was a motivating factor.” Id. at 220 (cleaned up; emphasis

 original).

        Here, the history, sequence of events leading up to the SEA Program’s

 current iteration, and legislative history all show this program was motivated by an

 explicit classification based on race.12

        The history and legislative history are clear: this program was adopted with

 explicit racial classifications baked into the purpose. Before the 2020 Action Plan

 was adopted, a 2019 report was commissioned by an outside consultant, The Equity

 Collaborative. One of the consultant’s observations about the campus climate within

 LCPS was that “[t]here are limited opportunities for Black/African-American and

 Muslim students to convene in a network of social and cultural support.” App. 97.

 Based on that observation, the consultant recommended that LCPS “[e]stablish

 student affinity groups at all levels to support the social and cultural identities of

 students of color. Id. at 101. This recommendation is important because it . . .

 [c]reates a formal structure that serves as a network of care for marginalized

 student populations and establishes a safe place for students to unpack feelings and

 emotions in times of social or cultural conflict.” Id. The need for a “formal structure”



 12Plaintiffs expect in discovery to find that the racial backgrounds of student
 participants is also substantially disproportionate, but these facts are not available
 at this time.
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 that “support[s] the social and cultural identities of students of color” became the

 Student Equity Ambassadors program.

       No wonder, then, that the Student Equity Ambassador Program started off

 with an explicit racial classification. LCPS originally stated that the leadership

 position “is open to all Students of Color.” App. 126. The packet clarified this further

 by stating that the “opportunity is specifically for students of Color” in an FAQ

 document, one of which asked if a student can participate if they are “not a student

 of color.” Id. Another answer on the FAQ document doubled down on the racial

 classification by explaining that there are “other equity opportunities” for students

 that did not satisfy the SEA Program’s racial classification. Id. LCPS also explained

 that equity ambassadors’ purpose is to “amplify the voices of students of color” and

 “represent your peers of color.” Id. at 128. Elsewhere in the FAQs, LCPS stated that

 the SEA Program is focusing on race instead of other forms of minority status, like

 faith or disability, because it is important to “recognize students who have been

 marginalized.” Id. at 127.

       LCPS dropped the SEA’s explicit racial classification after facing an outcry

 from parents that it was engaging in explicit racial discrimination. Despite the

 revisions, in an email exchange between a parent and LCPS administrator, the

 administrator stated: ““[t]hough all students (white or otherwise) are more than

 welcome to potentially serve as ambassadors, their focus is to raise the voice of their

 classmates of color during these meetings.” Id. at 131.




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          Finally, the work of the ambassadors is thoroughly race-based. One LCPS

 “equity lead” described the equity ambassadors’ role to a student newspaper as to

 “work to identify microaggressions” within their school.” Myers, supra.13 An LCPS

 high school sent a letter to parents describing the SEA program’s goal as

 “provid[ing] a forum to amplify the voices of Students of Color and those who have

 experienced or witnessed injustices, marginalization, or discrimination.” App. 134.

 During a presentation to the LCPS Board, three student equity ambassadors

 described microaggresions as “denials of racial reality” and gave examples such as

 ““I don’t think that white privilege exists” and asserting a framework of

 “colorblindness” which sees people as individuals rather than members of a race.

 App. 42, 43, 46.

          Thus, even with the sudden modification to the criteria, three things remain

 true: (1) This program was adopted to create a forum for only students belonging to

 particular racial groups to have an exclusive pipeline of access to senior LCPS

 administrators; (2) even with the explicit racial classification removed, the LCPS

 principals who are selecting the students understand exactly who they are supposed

 to pick for the program; the central administration’s desire that they only pick

 students of color has been made very clear; and (3) white students are still not full

 participants in the program; they are expected to attend and listen and only speak

 up if they agree with what their classmates of color are saying. It is still a program

 infected by racial motives, top to bottom.



 13
      https://dhspress.com/6434/showcase/the-ongoing-push-for-equity-in-lcps/
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       Plus, the Supreme Court’s precedent for revisions to a law adopted with

 racist motives requires more than just a silent change to a previous policy. A

 government cannot must “grapple[] with the laws’ sordid history in reenacting

 them.” Ramos, 471 U.S. at 1410 (Sotomayer, J., concurring). A revised law is only

 “free of discriminatory taint” if the legislature “actually confronts a law’s tawdry

 past in reenacting it.” Id. Getting caught with criteria that overtly violate the Equal

 Protection Clause, and then dropping the racial criteria after a public outcry

 without any comment, while retaining and perpetuating all the other race-based

 aspects of the program, does not purge the policy of its racism.

       Given these facts, and the Program’s history of containing a racial

 classification, there is ample evidence under Arlington Heights that racial

 discrimination was and still is a motivating factor for the SEA Program. As the

 Supreme Court warned in that case, once it’s established that race was one of the

 motivating factors for a decision, judicial deference to legislators’ prerogative to

 balance competing factors for a decision is no longer warranted. 429 U.S. at 266.

       B. The SEA Program violates the First Amendment because it
          discriminates on the basis of viewpoint.

       Choosing students for the SEA forum based on their viewpoint violates the

 First Amendment. “Viewpoint discrimination targets not subject matter, but

 particular views taken by speakers on a subject.” Davison v. Randall, 912 F.3d 666

 (4th Cir. 2019) (cleaned up). The Supreme Court has held that viewpoint

 discrimination is “an egregious form of content discrimination.” Judson v. Bd. of

 Supervisors, 436 F. Supp. 3d 852, 865 (E.D. Va. 2020) (quoting Rosenberger v.


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 Rector & Visitors of Univ. of Va., 515 U.S. 819, 829 (1995)); see also Lamb’s Chapel

 v. Center Moriches Union Free School Dist., 508 U.S. 384, 394 (1993) (“The First

 Amendment forbids the government to regulate speech in ways that favor some

 viewpoints or ideas at the expense of others.”). “The First Amendment is a kind of

 Equal Protection Clause for ideas.” Barr v. Am. Ass’n of Political Consultants, 140

 S. Ct. 2335, 2354 (2020) (plurality) (quoting Williams-Yulee v. Florida Bar, 575 U.

 S. 433, 470 (2015) (Scalia, J., dissenting)).

       1.     LCPS may not discriminate on the basis of viewpoint in this
              nonpublic forum.

       The Equity Ambassadors program is best categorized as a nonpublic forum.

 The LCPS Equity Director described the SEA Program as “students coming

 together in this forum.” EdEquityVA Webinar Series-Embracing and Incorporating

 Student Voice.14 One LCPS high school also said that “[t]he goal is to provide a

 forum to amplify the voices of Students of Color and those who have experienced or

 witnessed injustices, marginalization, or discrimination.” App. 134. LCPS’s Equity

 Ambassadors program is part of a larger national movement to emphasize “student

 voice” in education, one component of which is providing students a forum to discuss

 issues within the school community with administrators. See, e.g., Dr. Michelle

 McGrath, Student Voice is a Necessary Piece to Safe Schools, Assoc. of Wisconsin

 School Administrators (undated) (“Effective student voice doesn’t just happen, it




 14
    See LCPS Equity Director Lottie Spurlock’s comments at
 https://www.youtube.com/watch?v=wXXJoqablZ4&t=4968s (1:18:26).
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 entails a great deal of mindful planning, mentoring, and the necessary training and

 student advocacy forums to guide change.”).15

       As a nonpublic forum occurring outside the classroom, LCPS may not

 discriminate based on viewpoint. Admittedly, “Neither the Supreme Court nor [the

 Fourth Circuit] has decided whether restrictions on school-sponsored student

 speech must be viewpoint neutral under Hazelwood [Sch. Dist. v. Kuhlmeier, 484

 U.S. 260 (1988)], and other circuits are split on this question.” Robertson v.

 Anderson Mill Elem. Sch., 989 F.3d 282, 290 (4th Cir. 2021).16

       This Court should follow the majority of circuits in holding that Hazelwood

 does not permit viewpoint discrimination in school-sponsored programs, for three

 reasons. First, though the Fourth Circuit has not taken a formal position on the

 issue, it has leaned one way in the debate. In Child Evangelism Fellowship of

 Maryland, Inc. v. Montgomery County Public Schools, the Fourth Circuit held that

 “even in a nonpublic forum, government regulation must be not only reasonable but

 also viewpoint neutral.” 457 F.3d 376, 384 (4th Cir. 2006). It also noted that

 “viewpoint neutrality requires not just that a government refrain from explicit

 viewpoint discrimination, but also that it provide adequate safeguards to protect

 against the improper exclusion of viewpoints.” Id.




 15 https://awsa.memberclicks.net/update-article--student-voice-is-a-necessary-piece-
 to-safe-schools.
 16 Though the Supreme Court perhaps more recently suggested that political

 viewpoints are protected for students in Mahanoy Area School Dist. v. B.L,, 594 U.
 S. ____ (2021), decided just this month. Slip op. at 10, 13 (Alito, J., concurring), and
 5 (Thomas, J., dissenting).
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       Second, the majority of circuits have concluded that schools cannot

 discriminate based on viewpoint in school-sponsored fora.17 The Second, Ninth, and

 Eleventh Circuits have held that Hazelwood requires viewpoint neutrality. See Peck

 ex rel. Peck v. Baldwinsville Cent. Sch. Dist., 426 F.3d 617, 632-33 & n.9 (2d Cir.

 2005); Downs v. Los Angeles Unified Sch. Dist., 228 F.3d 1003, 1011 (9th Cir. 2000);

 Planned Parenthood of S. Nev., Inc. v. Clark Cty. Sch. Dist., 941 F.2d 817, 829 (9th

 Cir. 1991); Searcey v. Harris, 888 F.2d 1314, 1319 n.7 (11th Cir. 1989). A number of

 other circuit judges, writing in instances where their colleagues avoided the

 question, concluded that viewpoint neutrality applies to student speech in school

 fora. C.H. v. Oliva, 226 F.3d 198, 210-12 (3d Cir. 2000) (Alito, J., dissenting); Busch

 v. Marple Newtown Sch. Dist., 567 F.3d 89, 109 (3d Cir. 2009) (Hardiman, J.,

 concurring/dissenting); Morgan v. Swanson, 659 F.3d 359, 390 n.1 (5th Cir. 2011)

 (en banc) (Jones, C.J., concurring); Matter of Macula v. Bd. of Educ., 75 A.D.3d

 1118, 1120, 906 N.Y.S.2d 193, 194 (App. Div. 4th Dept.). Moreover, in Hazelwood

 itself, the Petitioners conceded that the school had to act in a viewpoint neutral

 way, a point that Justice Brennan noted in his concurrence. Hazelwood Sch. Dist. v.

 Kuhlmeier, 484 U.S. 260, 287 n.3 (1988) (Brennan, J., concurring). Conversely, the

 First and Tenth Circuits have held that Hazelwood does not require viewpoint

 neutrality. See Fleming v. Jefferson Cty. Sch. Dist., 298 F.3d 918, 926-28 (10th Cir.

 2002); Ward v. Hickey, 996 F.2d 448, 452 (1st Cir. 1993).



 17A school-sponsored forum for student speech is different from the school’s own
 curricular speech, where obviously the school may control exactly what viewpoint is
 expressed under the government speech doctrine.
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       Third, the majority of circuits have the rule right for simple matters of

 doctrine and constitutional law: “if schools could impose viewpoint-based

 restrictions on all student speech that might be perceived as school-sponsored, the

 promise of Tinker—that students ‘do not shed their constitutional rights to freedom

 of speech or expression at the schoolhouse gate’—would mean very little.” Busch,

 567 F.3d at 108 (Hardiman, J., concurring/dissenting). In sum, this court should

 follow most other courts in recognizing that students’ First Amendment rights,

 including their protection against viewpoint discrimination, remain in force in

 school-sponsored fora.

       2.     LCPS is engaged in viewpoint discrimination with the SEA.

       In order to become a student equity ambassador, a candidate must check two

 explicitly ideological boxes. He or she must promise to “amplify the voices of

 students of color” and he or she must have a proven track record of “passion for

 social justice.” App. 29, 134.

       LCPS now says that white students qualify for the program, but only if their

 “focus is to raise the voice of their classmates of color during these meetings.” Id. at

 130-31. LCPS says that the ambassadors must “represent [their] peers of color” and

 “amplify the voices of students of color.” Id. 30. The expectation that any student

 who comes to the forum must “amplify” or “represent” or “raise” “the voices of

 students of color” is a viewpoint-check at the admission gate to this forum.

       In order to qualify to participate in the forum, students are equally expected

 to be youthful social justice warriors. LCPS materials tell principals to appoint



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 students “who want to be a Voice for Social Justice,” and “who have a passion for

 social justice.” Id. 29, 30, 66. One school’s “equity lead” teacher says Student Equity

 Ambassadors “are promoting cultural awareness and growth by . . . be[ing] a voice

 for social justice.” Id. at 66. The LCPS Equity Director also described equity

 ambassadors as part of the district’s work to “empower students to make

 meaningful contributions to their world through a social justice lens.” EdEquityVA

 Webinar Series-Embracing and Incorporating Student Voice.18 Another LCPS

 document identified the student equity ambassadors program as a “Student

 Leaders of Color network division-wide” with the purpose of “build[ing] forward

 motion in using student voice” to use a “Social-Justice lens to develop greater

 awareness and build student empathy, leadership and advocacy skills.” App. 22. In

 other words, to qualify for this program, a student must be on board with LCPS’s

 vision for social justice. That is viewpoint discrimination in access to a nonpublic

 forum.

       In Rosenberger, the Supreme Court rejected the dissent’s argument that the

 nonpublic forum at issue in that case was viewpoint neutral by excluding all

 religious viewpoints because “[i]f the topic of debate is, for example, racism, then

 exclusion of several views on that problem is just as offensive to the First

 Amendment as exclusion of only one.” 515 U.S. at 831. Here, LCPS excludes any

 student with a viewpoint on the question of racism in our schools that varies from

 LCPS’s preferred viewpoint. That sort of discrimination cannot stand.


 18
    See LCPS Equity Director Lottie Spurlock’s comments at
 https://www.youtube.com/watch?v=wXXJoqablZ4&t=4968s (1:23:35).
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 C.   LCPS’ Bias Incident Reporting System violates the First Amendment
      because it is overbroad and chills student speech.

       “[I]t is clear that students ‘cannot be punished merely for expressing their

 personal views on the school premises—whether in the cafeteria, or on the playing

 field, or on the campus during the authorized hours.’” Crozier v. Westside Cmty. Sch.

 Dist., 973 F.3d 882, 891 (8th Cir. 2020) (quoting Hazelwood, 484 U.S. at 266).

       Yet this is precisely what LCPS intends to do—to subject students who share

 their personal views on school premises (or off-campus, as far as we know) to

 reporting, investigation, and naming-and-shaming by the equity cops. This is

 unconstitutional. “[T]he mere dissemination of ideas—no matter how offensive to

 good taste—on a state university campus may not be shut off in the name alone of

 ‘conventions of decency.’” Papish v. Bd. of Curators of Univ. of Mo., 410 U.S. 667,

 670 (1973). Or as the Supreme Court said more recently, “the school itself has an

 interest in protecting a student’s unpopular expression. . . That protection must

 include the protection of unpopular ideas, for popular ideas have less need for

 protection.” Mahanoy Area School Dist., slip op. at 7. Accord id. at 2-3 (Alito, J.,

 concurring) (“public school students, like all other Americans, have the right to

 express ‘unpopular’ ideas on public issues, even when those ideas are expressed in

 language that some find ‘inappropriate’ or ‘hurtful.’”). That is especially so when

 much of the ideas labeled offensive or indecent micro-aggressions are actually

 mainstream positions in the body politic.

       Simply maintaining a broad speech code can violate the First Amendment

 when it chills speech by encouraging self-censorship. Cooksey v. Futrell, 721 F.3d


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 226, 235 (4th Cir. 2013). To establish a First Amendment overbreadth claim, “‘a

 claimant need not show [they] ceased those activities altogether to demonstrate an

 injury in fact.’” Id. (quoting Benham v. City of Charlotte, 635 F.3d 129, 135 (4th Cir.

 2011)). Instead, it is enough to show that the government action is “likely to deter a

 person of ordinary firmness from the exercise of First Amendment rights.” Id.

 (quoting Benham, 635 F.3d at 135). In this case, the question is how a middle- or

 high-school student of ordinary firmness would react in this situation. Crozier, 973

 F.3d at 891.

        Here, the Plaintiff students wish to speak out on Critical Race Theory, race,

 and gender identity, and other controversial political issues. App. 118 (Menders

 Decl. ¶ 10); App. 121 (Mineo Decl. ¶ 10); App. 136 (Doe #1 Decl. ¶ 10); App. 139 (Doe

 # 2 Decl. ¶ 10); App. 142 (Doe #3 Decl. ¶ 10). They would not describe their views as

 “social justice” as LCPS uses that term. App. 117-18 (Menders Decl. ¶¶ 6-7); App.

 120-21 (Mineo Decl. ¶¶ 6-7); App. 135-36 (Doe #1 Decl. ¶¶ 6-7); App. 138-39 (Doe # 2

 Decl. ¶¶ 6-7); App. 141-42 (Doe #3 Decl. ¶¶ 6-7). Indeed, they oppose the new

 ideology taking hold across LCPS, which they view as teaching “that white people

 are evil or oppressors and that our nation’s institutions are inherently racist.” Id.

 Instead, they believe that “everyone is equal and that we should strive for a color

 blind society.” Id.

        But LCPS’ Bias Incident Reporting System sweeps in speech of this

 viewpoint because it defines a “bias incident” as an “act of discrimination,

 harassment, [or] intimidation” that “appears to be intentional and motivated by



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 prejudice or bias.”19 LCPS notes that “[s]uch [acts] are usually associated with

 negative feelings and beliefs with respect to others [sic] race, ethnicity, national

 origin, religion, gender, gender identity, sexual orientation, age, social class,

 political affiliation, or disability.” Id. “Bias incidents” are shared with Student

 Equity Ambassadors who work to “identify microaggressions” within LCPS, which

 three ambassadors defined as opinions like “I don’t think that white privilege

 exists,” “society should be colorblind,” or “we should see people as individuals rather

 than members of a race.” See Myers, supra; App. 42, 43, 46. Thus, if Plaintiff

 Students express their views on these issues, their speech will fall within the

 definition of a “bias incident.”

        Accordingly, Plaintiffs fear that their speech will be reported as a “bias

 incident” given the definition of a “bias incident” and that many other young people

 in Loudoun County do not share the Plaintiff students’ perspective on these issues.

 App. 118-19 (Menders Decl. ¶¶ 11-15); App. 121-22 (Mineo Decl. ¶¶ 11-15); App.

 136-37 (Doe #1 Decl. ¶¶ 11-15); App. 139-40 (Doe # 2 Decl. ¶¶ 11-15); App. 142-43

 (Doe #3 Decl. ¶¶ 11-15). Indeed, they are aware that speech codes at other schools

 systems with similar wording have been “used against those supporting former

 President Trump, saying “Make America Great Again,” or celebrating the Second

 Amendment.” Id. They are also aware that “when others have shared views similar

 to [theirs] on CRT, race, gender identity, and other controversial political issues,




 19
    LCPS Equity Director Lottie Spurlock’s comments at
 https://www.youtube.com/watch?v=wXXJoqablZ4&t=4968s (Slide that appears at 1:18:22).
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 that speech has prompted vitriolic, threatening, and persecutorial responses from

 others in Loudoun County, including within the LCPS community.” Id.

        As a result, the Plaintiffs fear that the Bias Incident Reporting System will

 be used to discipline or shame them for their views. Id. Indeed, the reports will be

 reviewed and logged by the equity supervisors and ambassadors, who are

 handpicked student social-justice warriors. LCPS also invites students to report

 discipline incidents to members of the administrative team.20

        The case law establishes that Plaintiffs’ fears are reasonable and that LCPS’

 actions would deter a student of ordinary firmness from speaking. Speech First, Inc.

 v. Schlissel, 939 F.3d 756, 770 (6th Cir. 2019); Abbott v. Pastides, 900 F.3d 160, 169-

 70 (4th Cir. 2018). See Speech First, Inc. v. Killeen, 968 F.3d 628, 652 (7th Cir. 2020)

 (Brennan, J., dissenting). See also Speech First, Inc. v. Fenves, 979 F.3d 319 (5th

 Cir. 2020).

        This Court’s consideration of this claim will likely start with the Fourth

 Circuit’s ruling in Abbott. In that case, officials from the University of South

 Carolina approved two student groups to hold an event on campus about free

 expression. The fact that they intended to include visual materials often considered

 offensive in their event prompted complaints to the university from other students,

 which led a University official to hold a mandatory meeting with a student

 organizer of the event “to review the complaints and determine whether an




 20
   https://stoplcpscrt.com/2021/05/19/5-19-21-new-lcps-student-bias-incident-portal-video-of-
 submitting-incident/
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 investigation was warranted. A few weeks later, he notified Abbott that there was

 no cause for investigation and that the matter had been dropped.” Id. at 163.

       Though the court later determined that the plaintiffs should lose because

 they could not prove damages (their claim for injunctive relief was moot), the court

 first held, “we do not doubt that a college student reasonably might be alarmed and

 thus deterred by an official letter from a University authority referring to an

 attached ‘Notice of Charge’ (even if no such notice actually is attached), raising the

 prospect of an investigation and ultimate recommendation to the University Provost

 and President, directing his attendance at a meeting, and prohibiting him from

 discussing the matter with others.” Id. at 171.21 So too here with LCPS: all students

 and parents are now on notice that any classmate can anonymously report their

 speech, which will generate a review by the equity supervisor, referral to the equity

 ambassadors, and potentially discipline.

       The Fourth Circuit’s conclusion about a college student of ordinary firmness

 is reinforced by subsequent decisions of the Fifth and Sixth Circuits, which


 21 Other sections of the Abbott decision rejecting an overbreadth challenge to a
 university’s harassment policy are distinguishable. First, the university’s speech
 code there had limits. It defined harassment as “conduct that is ‘sufficiently severe,
 pervasive, or persistent so as to interfere with or limit the ability’" of another
 student to receive the university’s benefits. 900 F.3d at 164. Plaintiffs have not
 challenged LCPS’s anti-bullying policy (§ 8-41) or “Protocol for Responding to Racial
 Slurs and Hate Speech in Schools,” which are the two policies analogous to the USC
 speech code, because they require persistent action (bullying) or overt racial slurs.
 The “bias incident” policy, by contrast, covers an individual comment advancing a
 mainstream view about politics, society, or religion. The harassment policy in
 Abbott also only extended to “behavior and speech that is not constitutionally
 protected and which limits or denies the rights of students to participate or benefit
 in the educational program.” Id. (internal quotations omitted). Again, LCPS’
 definition of “bias incident” includes no such carve outs.
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 considered formalized “bias response systems” even more analogous to LCPS than

 the informal meeting at issue in Abbott. The Fifth Circuit in Fenves and Judge

 Brennan in Killeen recognized that the reporting system in and of itself chilled

 speech. Fenves, 979 F.3d at 338 (“That the CCRT invites anonymous reports carries

 particular overtones of intimidation to students whose views are ‘outside the

 mainstream.’”); Killeen, 968 F.3d at 652 (Brennan, J., dissenting) (“potential

 ‘offenders’ may not speak at all if they fear that University officials are monitoring

 them for biased speech.”).

       The Sixth Circuit considered a similar “bias response team” system of

 student reporting in Schlissel, which that court found would chill the speech of an

 ordinary college student. CITE. The Bias Response Team in Schlissel did not have

 “direct punitive authority,” but it could “make referrals to police, [the Office of

 Student Conflict Resolution], or other school resources such as counselling services.”

 Id. at 763. The Sixth Circuit in Schlissel held this objectively chilled speech, and

 thus, the students had standing to sue. Although it remanded the case for the

 district court to consider the students’ likelihood of success on the merits, the court’s

 reasoning is pertinent here because standing often overlaps with the merits in First

 Amendment overbreadth challenges. Specifically, the court reasoned that the Bias

 Response Team’s “ability to make referrals—i.e., to inform OSCR or the police about

 reported conduct—is a real consequence that objectively chills speech.” Id. at 765. It

 explained that “referral subjects students to processes which could lead to”

 “criminal conviction or expulsion.” Id. “The referral initiates the formal



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 investigative process, which itself is chilling even if it does not result in a finding of

 responsibility or criminality.” Id.

       So too here with LCPS’ Bias Incident Reporting System. The possibility that

 those running the system have the ability to refer the case to school administrators

 for possible discipline objectively chills speech. 939 F.3d at 762. Just as the

 observation and investigation process themselves chilled speech in these cases, the

 mere possibility that a LCPS student will be observed and investigated chills their

 speech.

       Beyond the observation, review of complaints by the equity office, referral to

 the equity ambassadors, and possible investigation by the disciplinary authorities,

 the LCPS’ Bias Incident Reporting System would chill a student of ordinary

 firmness from speaking because of the damage to their personal reputation and

 college admission prospects. Judge Brennan on the Seventh Circuit rightly

 recognized that “[b]ecause reputational damage can impair a student’s prospects for

 academic and professional success, objectively reasonable students may be expected

 to behave in ways that mitigate their exposure to any allegation that might trigger

 a bias investigation.” Killeen, 968 F.3d at 652 (Brennan, J., dissenting). But “[n]o

 educational institution should force students to balance academic and professional

 success against the free expression of political viewpoints.” Id.

       Lastly, the situation here is much more coercive than was present in the

 three preceding higher education cases. There, courts asked whether an objectively

 reasonable young adult would feel his speech chilled. Here, we ask whether



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 students in middle and high school would self-censor rather than risk reporting,

 investigation, and review by the equity ambassadors.       The Supreme Court has

 reasoned that “there are heightened concerns with protecting freedom of conscience

 from subtle coercive pressure in the elementary and secondary public schools.” Lee

 v. Weisman, 505 U.S. 577, 592 (1992). Although the Fourth Circuit has hinted that

 Lee’s reasoning may not apply beyond school prayer cases, Lee’s concern with the

 vulnerability of school age children, like those in this case, is apt nonetheless. See

 Myers v. Loudoun Cty. Pub. Sch., 418 F.3d 395, 407 (4th Cir. 2005). Quite simply,

 an ordinary sixth or seventh grader is more likely to be chilled by a school district

 policy publicly condemning and banning certain viewpoints than an adult college

 student subject to a bias response system.

       In sum, LCPS’ Bias Reporting System chills student speech on controversial

 topics through its use of an overbroad definition of “bias incidents” that sweeps in

 protected speech and the implicit threat of discipline.

 II.   Plaintiffs will suffer irreparable harm if the SEA Program and Bias
       Incident Reporting System are allowed to stand.

       “[I]t is well settled that any deprivation of constitutional rights ‘for even

 minimal periods of time’ constitutes irreparable injury.” Condon v. Haley, 21 F.

 Supp. 3d 572, 588 (D.S.C. 2014) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976));

 see also Johnson v. Bergland, 586 F.2d 993, 995 (4th Cir. 1978) (“Violations of first

 amendment rights constitute per se irreparable injury.”); Hernandez v. Sessions,

 872 F.3d 976, 982, 994 (9th Cir. 2017) (in considering an equal protection claim,




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 stating “the deprivation of constitutional rights unquestionably constitutes

 irreparable injury”).

        Here, if this Court does not preliminary enjoin the SEA Program and Bias

 Reporting Incident System before the school year starts on August 26, 2021, the

 parents’ children will suffer the irreparable harm of having their constitutional

 rights violated. They will face an inevitable, unenviable choice: to self-silence their

 views on a wide range of political and social topics or to risk a bias report.

 III.   The balance of equities and public interest are both in Plaintiffs’
        favor.

        While the parents suffer and will continue to suffer deprivations of

 constitutional rights, LFPS experiences no burden here. Given that the parents are

 likely to succeed on the merits of their claims, LCPS “is in no way harmed by

 issuance of a preliminary injunction which prevents it from enforcing” two

 programs that “are likely to be found unconstitutional.” Newsom v. Albemarle

 County Sch. Bd., 354 F.3d 249 (4th Cir. 2003). Additionally, “upholding

 constitutional rights serves the public interest.” Id.; see also ACLU of Ill. V. Alvarez,

 679 F.3d 583, 589 90 (7th Cir. 2012) (same).


                                        CONCLUSION

        In concluding its decision in Abbott, the Fourth Circuit said, “[W]hile we are

 mindful of universities’ obligations to address serious discrimination and

 harassment against their students, we also are attentive to the dangers of

 stretching policies beyond their purpose to stifle debate, enforce dogma, or punish

 dissent.” 900 F.3d at 180.

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        This is precisely the situation we find ourselves in here: a policy that at first

 glance is nothing more than an anti-discrimination protocol is instead being used to

 stifle debate and enforce dogma. Any comments about race or other topics that stray

 from the company line can and will be used against you in a kangaroo court of

 hand-picked equity ambassadors. LCPS may say its goals are diversity and

 inclusion, but the reality is the opposite: students who hold views LCPS’s board

 does not approve are not welcome to share those views out loud or to be leaders in

 the school community.

        In the Supreme Court’s decision in Mahanoy, the majority, concurrence, and

 dissent all pointed to the school district’s responsibility to respect students’ speech

 rights on political and social topics. Slip op. at 7-8, 13 (Alito, J., concurring), and 5

 (Thomas, J., dissenting). As Justice Breyer puts it for the Court, “[S]chools have a

 strong interest in ensuring that future generations understand the workings in

 practice of the well-known aphorism, ‘I disapprove of what you say, but I will defend

 to the death your right to say it.’” Slip op. at 8. LCPS is teaching the opposite lesson

 to its students: if you disapprove of a classmate’s comments about race, religion,

 politics, or culture, report it for investigation as a bias incident.

        To protect the First and Fourteenth Amendment rights of Loudoun’s

 students, this Court should grant Plaintiffs’ motion for a preliminary injunction.

                                                  Respectfully Submitted,

                                                  /s/ Jeffrey D. Jennings
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                                                  Daniel R. Suhr (Pro Hac Vice)
                                                  Reilly Stephens (Pro Hac Vice)

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                          CERTIFICATE OF SERVICE

       I hereby certify that on June 25, 2021, a copy of the foregoing was sent via

 email to the address below pursuant to the parties’ agreement:


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